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                                  UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
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12   NEETA THAKUR, et al.,                        )   Case No. 25-cv-4737
                                                  )
13   Plaintiffs,                                  )   STIPULATION AND [PROPOSED] ORDER
                                                  )   FOR BRIEFING SCHEDULE AND HEARING
14       v.                                       )   FOR PLAINTIFFS’ MOTION FOR A
                                                  )   TEMPORARY RESTRAINING ORDER AND
15   DONALD J. TRUMP, in his official capacity as )   CLASS CERTIFICATION MOTION
     President of the United States, et al.,      )
16                                                )   Judge: Hon. Rita F. Lin
     Defendants.                                  )
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     STIPULATION AND [PROPOSED] ORDER FOR BRIEFING SCHEDULE AND HEARING FOR PLAINTIFFS’ MOTION
28 FOR A TEMPORARY RESTRAINING ORDER AND CLASS CERTIFICATION MOTION
     CASE NO. 25-CV-4737

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              Pursuant to Civil Local Rule 7-12, Plaintiffs and Defendants (“the Parties”), through their
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     respective undersigned counsel, stipulate and agree to a briefing schedule and hearing date in this case
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     as follows.
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                        1. On June 4, 2025, Plaintiffs’ filed the present case. On June 5, Plaintiffs filed a motion
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                           for a temporary restraining order seeking, on behalf of themselves and those similarly
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                           situated, “an immediate temporary restraining order enjoining Defendants from
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                           cutting off grantees’ access to congressionally appropriated funding that agencies
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                           have already awarded; restoring such previously awarded grants; requiring
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                           Defendants to provide no-cost extensions to grantees of restored grants for the time
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                           necessary to resume and complete interrupted work; enjoining Defendants from
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                           undertaking similarly unlawful actions to terminate duly awarded Agency grants in
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                           future; and requiring Defendants to return to the lawful orderly and individualized
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                           grant administration procedures they employed pursuant to federal regulations prior
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                           to January 20, 2025.” ECF No. 7-1 at 2. Plaintiffs filed a motion for class certification
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                           that same day. ECF No. 18.
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                        2. On June 6, 2025, the Court issued an order setting forth two possible schedules for
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                           briefing Plaintiffs’ pending motions and advising the Parties to be prepared to discuss
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                           their positions on expedited fact discovery. ECF No. 20. The Court further set a status
18                         conference for June 9 at 11:00am to discuss the two schedules and the Parties’ views
19                         of expedited fact discovery.
20                      3. The parties conferred via email on June 5 and have subsequently conferred following
21                         the Court’s order. The Parties propose the following schedule:
22                             a. Defendants’ opposition to both motions to be due on June 12, 2025;
23                             b. Plaintiffs’ replies to be due on June 17, 2025;
24                             c. A hearing on June 20, 2025 at 10:00 a.m.
25                      4. Counsel for the parties have conferred and agreed to the requests described herein.
26            THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the
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28 STIPULATION AND [PROPOSED] ORDER FOR BRIEFING SCHEDULE AND HEARING FOR PLAINTIFFS’ MOTION
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     Parties, subject to the Court’s approval, that the Court shall issue an order providing for the relief
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     requested in paragraph three above.
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 3                                                          Respectfully submitted,

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                Dated: June 9, 2025
 1                                              By:
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 1                      PURSUANT TO STIPULATION, IT IS SO ORDERED,

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 3            Dated: ___________                   ____________________________

 4                                                 Hon. Rita F. Lin

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                                                  ATTESTATION
 1
              Pursuant to Local Rule 5-1(i), I attest that I am the ECF user whose user ID and password are
 2
     being used in the electronic filing of this document, and further attest that I have obtained the
 3
     concurrence in the filing of the document from the other signatory.
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                                                                   /s/ Jason Altabet
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28 STIPULATION AND [PROPOSED] ORDER FOR BRIEFING SCHEDULE AND HEARING FOR PLAINTIFFS’ MOTION
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